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                   UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII

                                             CR. No. 22-00048-TMB-WRP
  UNITED STATES OF AMERICA,
                                             STIPULATION
                        Plaintiff,           RE: HANDWRITTEN NOTES
             v.

  KEITH MITSUYOSHI KANESHIRO (1),
  DENNIS KUNIYUKI MITSUNAGA (2),
  TERRI ANN OTANI (3),
  AARON SHUNICHI FUJII (4),
  CHAD MICHAEL MCDONALD (5),
  SHERI JEAN TANAKA (6),

                       Defendants.
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       The following is hereby stipulated and agreed, by and between the United

 States of America and Defendant, Keith Mitsuyoshi Kaneshiro, with the advice and

 consent of Birney B. Bervar, counsel for Defendant:

       1.    The four pages of handwritten notes, on lined paper, attached hereto as
             Exhibit 1, were written by Mr. Kaneshiro.

 SO STIPULATED AND AGREED.

 DATED       January 31, 2024.               /s/ Birney B. Bervar
                                             Birney B. Bervar
                                             Bervar & Jones
                                             Attorneys for Defendant Kaneshiro

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                                             COLIN M. MCDONALD
                                             ANDREW Y. CHIANG
                                             Special Attorneys




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                                Exhibit 1
                     [Kaneshiro Stipulation to Handwriting]




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